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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                             CASE NO: 6:20-cr-97-GAP-LRH

JOEL MICAH GREENBERG


                                        ORDER

      Upon consideration of the Government’s in camera and ex parte Status Report

filed May 13, 2022 (Doc. 140), it is

      ORDERED that, in the interest of justice, an additional continuance of the

sentencing in this matter is granted.

      It is further

      ORDERED that unless the parties request that a sentencing hearing be set

sooner, the government shall file another status report by July 13, 2022, which may
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be filed under seal. Please note that absent compelling circumstances, it is the

Court’s intention to set sentencing to be held in August 2022.

      DONE and ORDERED in Orlando, Florida on May 16, 2022.




Copies furnished to:

United States Marshal
United States Attorney
United States Probation Office
United States Pretrial Services Office
Counsel for Defendant




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